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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11    DEVIN MICHAEL SMITH,                    Case No. 2:20-cv-05845-DSF-AFM
  12                        Plaintiff,
                                                JUDGMENT
  13
              v.
  14
        METROPOLITAN STATE
  15    HOSPITAL, et al.,
  16                        Defendants.
  17

  18         Pursuant to the Court’s Order Accepting the Report and Recommendation of
  19   the United States Magistrate Judge,
  20         IT IS ORDERED AND ADJUDGED that the action is dismissed without
  21   prejudice for failure to prosecute.
  22

  23   DATED: November 22, 2021
  24
                                             Honorable Dale S. Fischer
  25                                         UNITED STATES DISTRICT JUDGE
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